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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

WESLEY E. BROWN                              * CIVIL ACTION
                                             * NO.:
VERSUS                                       *
                                             * JUDGE:
RODI MARINE, LLC; TALOS ENERGY, LLC;         *
and TALOS OIL & GAS, LLC                     * MAGISTRATE:
**********************************************

                               COMPLAINT FOR DAMAGES

       NOW INTO COURT, through undersigned counsel, come Plaintiff, Wesley E. Brown, a

resident of the Parish of Terrebonne, State of Louisiana, who respectfully avers as follows:

                                                1.

       Made defendants herein are:

       Rodi Marine, LLC, a Louisiana Limited Liability Company with its principal
       place of business in the Parish of Lafayette that is authorized to do and doing
       business within the jurisdictional boundaries of this Court;

       Talos Energy, LLC, a foreign Limited Liability Company, with its principal place
       pf business located in the State of Texas that is authorized to do and doing business
       within the jurisdictional boundaries of this Court; and

       Talos Oil & Gas, LLC, a foreign Limited Liability Company, with its principal
       place pf business located in the State of Texas that is authorized to do and doing
       business within the jurisdictional boundaries of this Court.

                                                2.

       Plaintiff’s claims are brought pursuant to the Longshore and Harbor Workers’

Compensation Act 33 USC §933 and the Savings to Suitor’s Clause of the United States

Constitution under the General Maritime Law as may be supplemented by applicable State Law.
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                                                 3.

       Defendant is justly and truly indebted to Plaintiff for all damages that are reasonable in the

premises, together with legal interest from the date of incident until paid and all costs of these

proceedings, by reason of the following:

                                                 4.

       On or about February 12, 2021, Plaintiff, Wesley E. Brown, was employed by Offshore

Energy Services, Inc. as an operator, and assigned to perform work on an offshore oil production

platform in the Gulf of Mexico, due south of Terrebonne Parish and located in Green Canyon

Block 18, that was owned and/or operated by Talos Energy, LLC and/or Talos Oil and Gas,

LLC (hereinafter collectively “Talos”).

                                                 5.

       On said date, Plaintiff was being transferred to shore on an offshore supply vessel, the M/V

MR LLOYD.

                                                 6.

       At all material times herein, Defendant, Rodi Marine, LLC, was the owner, operator

and/or owner pro hac vice, of the M/V MR LLOYD.

                                                 7.

       At all material times herein, Defendants, Talos, had contracted with Defendant, Rodi

Marine, LLC, to provide transportation on the M/V MR LLOYD to and from the Talos

platform.




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                                                 8.

       On the date of the incident, the weather conditions offshore were poor, including high

winds and seas that resulted in a rough and unsafe ride for passengers being transported to shore,

including Plaintiff, Wesley E. Brown.

                                                 9.

       During the course of the boat ride, the M/V MR LLOYD encountered a large wave while

operating at an unsafe speed, thereby causing Plaintiff, Wesley E. Brown, to be unexpectedly

thrown about the cabin, and resulting in Plaintiff sustaining injuries to his neck, back and knee.

                                                10.

       A proximate cause of the injuries and damages sustained by Plaintiff, Wesley E. Brown,

was the negligence and/or fault of Defendant, Rodi Marine, LLC, which includes the following

nonexclusive particulars:

       1.      Transporting passengers on the M/V MR LLOYD in rough seas;

       2.      Operating the M/V MR LLOYD at an unsafe speed under the circumstances:

       3.      Failure to provide safe carriage to shore;

       4.      Failure to maintain proper lookout;

       5.      Failure to ensure the passengers on the M/V MR. LLOYD were secure; and

       6.      Any other acts of negligence which will be shown at the trial of this matter.




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                                               11.

       A proximate cause of the injuries and damages sustained by Plaintiff, Wesley E. Brown,

was the negligence and/or fault of the Talos Defendants, which includes the following

nonexclusive particulars:

       1.     Failure to provide safe transportation to shore;

       2.     Permitting transportation to shore in rough seas;

       3.     Failure to provide safe carriage to shore; and

       4.     Any other acts of negligence which will be shown at the trial of this matter.

                                               12.

       As a result of the negligence and fault of Defendants, Rodi Marine, LLC, Talos Energy,

LLC and Talos Oil and Gas, LLC, Plaintiff, Wesley E. Brown, sustained significant injuries,

necessitating medical treatment and resulting in loss of work and permeant physical impairments;

thereby entitling him to general damages, past and future, for his physical and mental pain and

suffering, emotional distress, loss of enjoyment of life, and permanent disability; and special

damages, past and future, including medical expenses, lost wages and loss of earnings capacity.



       WHEREFORE, Plaintiff, Wesley E. Brown, prays that Defendants, Rodi Marine, LLC,

Talos Energy, LLC and Talos Oil and Gas, LLC be served with a copy of this Complaint for

Damages and be duly cited to appear and answer same; that after all due proceedings are had, that

there be judgment rendered in favor of Plaintiff, Wesley E. Brown, and against Defendant, Rodi

Marine, LLC, Talos Energy, LLC and Talos Oil and Gas, LLC, for all damages that are

reasonable in the premises, together with legal interest, and all costs of these proceedings; and




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further, for all general and equitable relief which the court deems necessary and proper under the

circumstances.

                                             Respectfully submitted,


                                              /s/ Charles C. Bourque, Jr.
                                             CHARLES C. BOURQUE, JR. (#20118) T.A.
                                             JOSEPH G JEVIC III (#23145)
                                             ST. MARTIN & BOURQUE
                                             315 Barrow St.
                                             Houma, Louisiana 70360
                                             Telephone: (985) 876-3891
                                             Facsimile: (985) 851-2219



PLEASE SERVE:

Rodi Marine, LLC
Through its agent for service of process:
Donald “Wade” Guillory
206 Bella Vista Parkway
Youngsville, LA 70592

Talos Energy, LLC
Through its agent for service of process
C T Corporation System
3867 Plaza Tower, Blvd.
Baton Rouge, LA 70816

Talos Oil and Gas, LLC
Through its agent for service of process
C T Corporation System
3867 Plaza Tower, Blvd.
Baton Rouge, LA 70816




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